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                                                      UNITED STATES DISTRICT COURT
                                                                FOR THE
                                                          DISTRICT OF VERMONT


                    MARTIN A. GIROUX,                                    )
                        Plaintiff                                        )
                                                                         )
                                        v.                               )       Case No. 2:19-cv-187
                                                                         )
                    PAUL J. FOLEY, JR.,                                  )
                         Defendant                                       )


                                    PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO STRIKE

                                 Plaintiff Martin A. Giroux (“Mr. Giroux”), by his attorneys, Gravel & Shea PC, hereby

                    opposes Defendant Paul J. Foley, Jr.’s (“Mr. Foley”) Motion to Strike. In support of his

                    Opposition, Mr. Giroux submits the following memorandum of law.


                                                                Procedural Posture

                                 Mr. Giroux filed the complaint (“the Complaint”) in this case in the Chittenden Superior

                    Court on September 20, 2019, in which he alleges that Mr. Foley sexually abused him as a child.

                    Mr. Giroux is a citizen of the State of New Jersey. Mr. Foley is a citizen of the State of Kansas.

                                 On October 22, 2019, Mr. Foley removed the Complaint to this Court under the Court’s

                    diversity jurisdiction. See 28 U.S.C. § 1332(a)(1). Mr. Foley then filed a motion to dismiss for

                    lack of personal jurisdiction and a Motion to Strike (“the Motion”).

                                 Plaintiff has responded in opposition to the motion to dismiss and now files an opposition

                    to the motion to strike.


                                                                 Relief Requested

                                 Denial of the Motion.




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                                                                      Argument

                                 Rule 12(f) of the Federal Rules of Civil Procedure permits a court to “[s]trike from a

                   pleading any insufficient defense or any redundant, immaterial, impertinent, or scandalous

                   matter.”

                                 Plaintiff’s Complaint is not subject to a motion to strike for any of the reasons contained

                   in Rule 12(f).

                                 Motions to strike are intended to serve the purpose of avoiding expenditures of time and

                   resources that would arise from litigating spurious issues by dispensing with those issues prior to

                   trial. Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 973 (9th Cir. 2010). Moreover, the

                   language challenged must have no bearing on the subject matter of the litigation and permitting

                   their inclusion will prejudice the Defendant. First City Nat’l Bank & Trust Co. v. FDIC, 730 F.

                   Supp. 501 (E.D.N.Y. 1990).

                                        Unless it is clear that portions of the pleadings “sought to be struck
                                        [have] ‘no bearing on the subject matter of the litigation and that
                                        [their] inclusion will prejudice the defendant, the complaint should
                                        remain intact.’” An informed decision on whether or not to strike
                                        material in the pleadings, including a determination of relevance,
                                        often may not be made until a trial begins to unfold. The Amended
                                        Complaint describes Schiff as a central figure in the alleged RICO
                                        enterprise and a moving force behind the racketeering activity.
                                        Schiff’s death allegedly triggered the investigation that exposed the
                                        enterprise and related activity. Therefore, at least for now, the
                                        motion to strike is denied.

                   Id. at 514 (citations omitted).

                                 Defendant does not appear to assert that the language of the Complaint which he seeks to

                   strike is impertinent, but rather, apparently, that the information is immaterial or scandalous.

                                        Statements are to be stricken as “scandalous” only when they
                                        contain allegations “that unnecessarily reflects on the moral




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                                        character of an individual or states anything in repulsive language
                                        that detracts from the dignity of the court.”

                   Cobell v. Norton, 224 F.R.D. 1, 5 (D.D.C. 2004) (citations omitted).

                                 Barcher v. New York Univ. Sch. of Law, 993 F. Supp. 177 (S.D.N.Y. 1998), likewise

                   makes it clear that there is no basis to strike any part of Plaintiff’s Complaint. The Barcher court

                   noted that district courts in the Second Circuit must be wary of motions to strike.

                                        While the Court recognizes that plaintiff’s sexual harassment
                                        claims arise from unproven and unreported events that allegedly
                                        occurred over twenty years ago, the Second Circuit has stated
                                        clearly that district courts should be wary when deciding whether
                                        to grant a Rule 12(f) motion on the ground that the matter is
                                        impertinent and immaterial. See Lipsky v. Com. United Corp., 551
                                        F.2d 887, 893 (2d Cir. 1976). Accordingly, courts must deny such
                                        a motion, “unless it can be shown that no evidence in support of
                                        the allegation would be admissible.” Id. at 893; see also Gleason v.
                                        Chain Service Restaurant, 300 F. Supp. 1241 (S.D.N.Y. 1969),
                                        aff’d, 422 F.2d 342 (2d Cir. 1970). In the instant matter, that is
                                        simply not the case, for plaintiff certainly could testify as to the
                                        alleged harassment. Therefore, the exception enabling the striking
                                        of such material is not applicable.

                   Id. at 181.

                                 Plaintiff set out factual descriptions of the actions taken by Defendant as part of his

                   process of grooming and sexually abusing children. These assertions are not scandalous within

                   the meaning of Rule 12(f); they are factually accurate, specific facts that are essential to the case.

                   Plaintiff will prove every factual assertion made in the Complaint as predicate events to the

                   sexual abuse of him as alleged in the Complaint.

                                 In short, there is no basis for a motion to strike. In addition, the issue is moot as a

                   practical matter inasmuch as the Court has permitted the filing of a redacted Complaint that

                   removes from public view the information Defendant apparently seeks to have excised from the

                   Complaint.




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                                                                   Conclusion

                                 The Court should deny the Motion to Strike.

                                 Dated:        Burlington, Vermont
                                               December 23, 2019
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